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\f UNITED STATES DISTRICT COURT ATBALTINORE
1 FOR THE DISTRICT OF MARYLAND OOSTRGT OF MARYLAND”
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UNITED STATES OF AMERICA CRIMINAL NO. GLA - | 4 ~ 0 a4 &

v. (Conspiracy to Participate in a

Racketeering Enterprise, 18 U.S.C. §

CAPRICE BETHEA, 1962(d))
Defendants.

 

 

INFORMATION

COUNT ONE
Conspiracy to Participate in a Racketeering Enterprise

The United States Attorney for the District of Maryland charges that:

At all times relevant to this Information:

1. The defendant, CAPRICE BETHEA, together with other persons, known and
unknown, were members and associates of a criminal organization; that is, the Southside Brims
street gang. The Southside Brims, including its leaders, members, and associates, constituted an
enterprise, as defined in Title 18, United States Code, Section 1961(4), that is a group of
individuals associated in fact that engaged in, and the activities of which affected interstate and
foreign commerce.

2. The enterprise constituted an ongoing organization whose members functioned as
acontinuing unit for a common purpose of achieving the objectives of the enterprise. The purposes
of the enterprise included earning money for members through drug sales and firearms sales, and
other means, expanding its membership, increasing its reputation, and protecting members from

rival gangs.
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3. Among the means and methods by which the members and associates of the
Southside Brims conducted and participated in the conduct of the affairs of the Enterprise were
the following:

a. The members and associates of the Southside Brims used intimidation, threats
of violence, and violence, including assaults and murder, to promote and
enhance its prestige, reputation, and position in the community, and to discipline
gang members who had been disloyal or had violated gang rules;

b. The members and associates of the Southside Brims attended regular gang
meetings and communicated with other Southside Brims members to discuss,
among other things: the structure and organization of the gang, past criminal
acts committed against rival gang members and others; efforts to increase gang
income, such as through drug trafficking and acts of bank fraud; gang members
who had violated gang rules; and plans and agreements regarding the
commission of future crimes; and

c. The members and associates of the Southside Brims also communicated with
other Southside Brims members in Maryland and elsewhere, and represented
their gang allegiance, through social media such as Facebook, including by
posting photographs of themselves with other gang members, showing gang
hand signs, wearing colors or clothing associated with the Southside Brims, and
posing with weapons or gang-related graffiti, and by sending and/or posting

messages referencing their affiliation with the Southside Brims.
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The Racketeering Conspiracy

4, Beginning on a date unknown, but at least prior to in or about 2015, and continuing

through at least in or about 2017, in the District of Maryland and elsewhere,
CAPRICE BETHEA,

the defendant herein, and others known and unknown, being a person employed by and associated
with the Southside Brims, an enterprise engaged in, and the activities of which affected, interstate
and foreign commerce, did knowingly conspire to violate Title 18 U.S.C. § 1962(c), that is, to
conduct and participate, directly, and indirectly, in the conduct of the affairs of the Southside Brims
Enterprise through a pattern of racketeering activity, as defined in 18 U.S.C. §§ 1961(1) and (5),
consisting of acts indictable under 18 U.S.C. § 1344 (relating to financial institution fraud); acts
involving murder, in violation of Maryland Code, Criminal Law §§ 2-201, 2-204, 2-205, and 2-
206, 1-202, and the Common Law of Maryland, punishable pursuant to Maryland Code, Criminal
Law §§ 1-201, 1-202, 2-201, 2-204, 2-205, and 2-206; and acts involving robbery, in violation of
Maryland Code, Criminal Law §§ 3-402 and 3-403. |

5. It was further part of the conspiracy that the defendant agreed that a conspirator

would commit at least two acts of racketeering activity in the conduct of the affairs of the enterprise
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Overt Acts

6. In furtherance of the conspiracy, and to effect the illegal object thereof. the
defendant and her co-conspirators performed, participated in, and did the following acts, among
others, in the District of Maryland and elsewhere:

7, From on or about February 5, 2016, through on or about December 23, 2016,
CAPRICE BETHEA, deposited forged and stolen checks into various bank accounts maintained
by Bank of America. CAPRICE BETHEA would then withdraw money from those accounts,
causing Bank of America and the bank account customers to incur financial losses.

| 8. On or about August 1, 2016, CAPRICE BETHEA, and other members and
associates of the Southside Brims, conspired to rob “J.M.”

All in violation of 18 U.S.C. § 1962(d).

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ROBERT K.HUR
United States Attorney
